    8:07-cr-00168-LSC-FG3   Doc # 14   Filed: 05/21/07    Page 1 of 1 - Page ID # 48




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )           8:07MJ59
              Plaintiff,               )
                                       )
   vs.                                 )                 ORDER
                                       )
KELLY DILL,                            )
                                       )
              Defendant.               )


   The court has been presented a Financial Affidavit (CJA Form 23)
signed by the above-named defendant in support of a request for appointed
counsel.   After a review of the Financial Affidavit, I find that the
above-named defendant is eligible for appointment of counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

   IT IS ORDERED:

   Thomas J. Garvey is appointed to represent the above named defendant
in this matter and shall forthwith file an appearance in this matter.

   IT IS FURTHER ORDERED that counsel's appointment herein is made
pursuant to 18 U.S.C. §3006A(f). At the time of the entry of judgment
herein, defendant shall file a current and complete financial statement
to aid the court in determining whether any portion of counsel's fees and
expenses should be reimbursed by defendant.

   IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender and Thomas J. Garvey.

   DATED this 21st day of May, 2007.

                                       BY THE COURT:


                                       s/ Thomas D. Thalken
                                       United States Magistrate Judge
